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 Jeff Carruth (TX SBN: 24001846)
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 2608 Hibernia, Suite 105
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 Telephone: (713) 341-1158
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 E-mail: jcarruth@wkpz.com

 PROPOSED ATTORNEYS FOR
 HIGH PLAINS RADIO NETWORK, LLC,
 DEBTOR AND DEBTOR IN POSSESSION



                                         UNITED STATES BANKRUPTCY COURT
                                           NORTHERN DISTRICT OF TEXAS
                                              WICHITA FALLS DIVISION

    IN RE:                                                                §
                                                                          §
    HIGH PLAINS RADIO NETWORK,                                            §    CASE NO. 24-70089-swe11
    LLC,                                                                  §
         DEBTOR.                                                          §    EXPEDITED HEARING
                                                                          §       REQUESTED:

                            EMERGENCY MOTION TO USE CASH COLLATERAL

 TO THE HONORABLE SCOTT W. EVERETT, U.S. BANKRUPTCY JUDGE:

             High Plains Radio Network LLC, the debtor and debtor in possession (“HPRN” or the

 “Debtor”), file this Emergency Motion to Use Cash Collateral (the “Motion to Use Cash

 Collateral” or the “Motion”) and in support thereof would show to the Court the following.

                              EMERGENCY / EXPEDITED HEARING REQUESTED

             1.          Debtor concurrently has filed a separatee motion seeking emergency and/or

 expedited consideration of this motion on April 3, 2024, April 4, 2024, or April 5, 2024.

                                                                INTRODUCTION

             2.          This motion seeks interim authorization to use cash collateral from April 1, 2024

 through at least through and until April 25, 2024, with final authorization to occur thereafter,

 without prejudice to subsequent extensions.




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             3.          The SBA appears to be the only relevant pre-petition lienholder with respect to

 cash collateral. The claims of the SBA is only approximately $65,000.

                                                     JURISDICTION AND VENUE

             4.          The Court has jurisdiction over this action pursuant to Rule 4001 of the Federal

 Rules of Bankruptcy Procedure and, without limitation. §§ 105, 361 and 363 and 1101 et seq. of

 the United States Bankruptcy Code, 11 U.S.C. § 101 et seq. (the “Code”).

             5.          Venue action is proper in this Court pursuant to 28 U.S.C. § 1409.

             6.          The Court may try this action to a conclusion and enter final orders under Stern v.

 Marshall, 131 S. Ct. 2594 (U.S. 2011).

                                                       FACTUAL BACKGROUND

 The identity and background of the Debtor and Debtor in Possession.

             7.          HPRN owns and operates a chain of rural AM and FM radio stations in parts of

 Texas, Oklahoma, and Arkansas.

 The Commencement of the Bankruptcy Cases.

             8.          On March 26, 2024, HPRN commenced the above-captioned Chapter 11 case by

 filing a voluntary petition.

             9.          HPRN commenced this case primarily as a result of ongoing difficulties with

 various tower leases and challenges in a the rapidly evolving radio industry.

 Factual background in support of the relief requested.

             10.         The Small Business Administration (“SBA” or the “Lender”) appears to hold a

 first lien with respect to the accounts and cash collateral of HPRN by a UCC-1 filed on or about

 July 16, 2020. See Exhibit H001 (UCC-1 recap); Exhibit H002 (Texas SOS UCC-1 list).

             11.         The approximate balance of the claim of the SBA is $65,000.




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             12.         Although a large number of UCC-1 filings appear in the Texas SOS records as

 to the Debtor, only the SBA appears to possess a lien on accounts and cash that would require

 cash collateral attention in this case.

             13.         HPRN requires access to its cash collateral in order to continue work and

 maintain operations of the stations, to make payroll, and to fund critical needs and operations.

             14.         A proposed interim budget for the period of April 1-25, 2024 is attached (the

 “Budget”). See Exhibit H003.

             15.         HPRN seeks authority to use cash collateral consistent with the Budget and the

 accompanying proposed Interim Order pending a final hearing and the entry of a Final Order

 authorizing the use of cash collateral.

                                                           RELIEF REQUESTED

             16.         Pursuant to Code §§ 105, 361, and 363 the Debtor respectfully requests an

 expedited hearing on this Motion and entry of interim and final orders granting authorization on

 an interim basis to use cash collateral from April 1, 2024 through at least through and until April

 25, 2024, with final authorization to occur thereafter, without prejudice to subsequent extensions.

             17.         A proposed form of interim cash collateral order is attached hereto and

 incorporated by reference herein.

                                                               BASIS OF RELIEF

             18.         HPRN requires immediate use of its cash in order to maintain operations and

 preserve the assets of the estate.

             19.         The SBA shall be adequately protected in the use of cash collateral by HPRN by

 the granting of replacement liens against the property of the estate coextensive with the pre-

 petition lanes of SBA and with the super priority under Code § 361(2) as set forth in the

 proposed Interim Order.


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             20.         Considering the lack of other lien holders co-extensive with the SBA, and the

 relative small amount of the potentially allowed claim of the SBA, HPRN submits that

 replacement liens on the existing collateral and the continuation of the business of the Debtor to

 continue to generate accounts receivable, provides more than sufficient adequate protection for

 the SBA.

                                                     RESERVATION OF RIGHTS

             21.         HPRN reserves the right to amend and/or supplement this Motion prior to any

 hearing, including particularly with respect to the proposed interim budget, Exhibit H003.

                   PRELIMINARY DESIGNATION OF WITNESSES AND EXHIBITS

             22.         HPRN designates the following as potential exhibits for any hearing on this

 Motion: (1) the exhibits attached to this Motion; (2) the exhibits attached to any other pleading

 filed in this case by HPRN; (3) any other exhibits designated by HPRN as to any other matter;

 (4) any exhibits designated by any other party.

             23.         HPRN designates the following as potential witnesses for any hearing on this

 Motion. (1) Monte Spearman; (2) any other witnesses designated by any other party.

                                                                          NOTICE

             24.         HPRN through the undersigned counsel has provided notice of this Motion to Use

 Cash Collateral and the related request for an expedited hearing to the parties entitled to notice

 under the Federal Rules of Bankruptcy Procedure and the applicable Local Rules. Notice by

 email or other expedited means will be provided and/or have been provided to the extent contact

 information is available.

             25.         As indicated below, a Certificate of Service separate from this Motion to Use

 Cash Collateral will be filed.




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                                                    CONCLUSION AND PRAYER

             WHEREFORE, High Plains Radio Network LLC, Debtor and Debtor in Possession,

 respectfully requests that an expedited hearing be held on this Motion and that the Court

 immediately grant the Debtor's interim use of cash collateral according to the budget,

 Exhibit H003 for the period of April 1, 2024 through and until April 25, 2024, with final

 authorization to occur thereafter, without prejudice to subsequent extensions. The Debtor further

 requests such other and further relief to which the Debtor is entitled at law or in equity.



 Dated: April 1, 2024                                             Respectfully submitted:

                                                                  WEYCER, KAPLAN, PULASKI & ZUBER, P.C.

                                                                  By:        /s/ Jeff Carruth
                                                                          JEFF CARRUTH (TX SBN: 24001846)
                                                                          2608 Hibernia, Suite 105
                                                                          Dallas, TX 75204-2514
                                                                          Telephone: (713) 341-1158
                                                                          Fax: (713) 961-5341
                                                                          E-mail: jcarruth@wkpz.com


                                                                  PROPOSED ATTORNEYS FOR
                                                                  HIGH PLAINS RADIO NETWORK, LLC
                                                                  DEBTOR AND DEBTOR IN POSSESSION



                                 CERTIFICATE OF SERVICE
 The undersigned hereby certifies that a true and correct copy of the foregoing was served on
 April 1, 2024 (1) by electronic notice to all ECF users who have appeared in this case to date,
 and/or as set forth below and (2) by regular mail to all parties appearing in the attached address
 list (i.e. mailing matrix).

 COPIES OF THE EXHIBITS WERE NOT SERVED BY REGULAR MAIL. PLEASE
 CONTACT THE UNDERSIGNED IF YOU WISH TO RECEIVE THE EXHIBITS.

                                                                                /s/Jeff Carruth
                                                                                Jeff Carruth


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                                                                ECF SERVICE LIST

 24-70089-swe11 Notice will be electronically mailed to:

 Jeffery D. Carruth on behalf of Debtor High Plains Radio Network, LLC
 jcarruth@wkpz.com,
 jcarruth@aol.com;atty_carruth@trustesolutions.com;carruthjr87698@notify.bestcase.com;ATT
 Y_CARRUTH@bluestylus.com

 Paul H. Cross on behalf of Creditor Hanmi Bank
 phclease@msn.com

 Julie Anne Parsons on behalf of Creditor Eastland County Appraisal District
 jparsons@mvbalaw.com,
 kalexander@mvbalaw.com;theresa.king@mvbalaw.com;juanie.montalvo@mvbalaw.com

 Julie Anne Parsons on behalf of Creditor The County of Henderson, Texas
 jparsons@mvbalaw.com,
 kalexander@mvbalaw.com;theresa.king@mvbalaw.com;juanie.montalvo@mvbalaw.com

 Julie Anne Parsons on behalf of Creditor The County of Stephens, Texas
 jparsons@mvbalaw.com,
 kalexander@mvbalaw.com;theresa.king@mvbalaw.com;juanie.montalvo@mvbalaw.com

 Scott M. Seidel -SBRA V
 scott@scottseidel.com, csms11@trustesolutions.net;susan.seidel@earthlink.net

 United States Trustee
 ustpregion06.da.ecf@usdoj.gov




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                                                                                  REGULAR MAIL LIST




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                            PROPOSED INTERIM ORDER




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                                         UNITED STATES BANKRUPTCY COURT
                                            NOTHERN DISTRICT OF TEXAS
                                               SAN ANTONIO DIVISION


    IN RE:                                                                §
                                                                          §
    HIGH PLAINS RADIO NETWORK                                             §   CASE NO. 22-51323-MMP
    LLC,                                                                  §
                                                                          §         Chapter 11
                DEBTOR.                                                   §

             INTERIM ORDER GRANTING EMERGENCY MOTION TO USE CASH
             COLLATERAL (RE: DOCKET NO. 11)

       On this day came on for consideration the Emergency Motion to Use Cash Collateral
 (Docket No. 11) (the “Motion to Use Cash Collateral” or the “Motion”) filed herein on April 1,
 2024 by High Plains Radio Network LLC, debtor and debtor in possession (“HPRN” or the
 “Debtor”).

         The Court finds that HPRN provided due and appropriate notice of the Motion, the relief
 requested therein, and the emergency hearing (the “Notice”) has been served by the Debtor on (i)
 the Office of the United States Trustee for the Northern District of Texas, (ii) the parties listed in
 the matrix filed in this case, (iii) any persons possessing a security interest in the assets of the
 Debtor and any person possessing a security interest in the cash collateral of the Debtor; (iv)
 certain other parties identified in the certificate of service filed with the Court (collectively, the
 “Noticed Parties”).



 INTERIM ORDER GRANTING EMERGENCY MOTION TO USE
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        Upon the record established at the hearing, the Court is of the opinion that the following
 Order should be entered.

     THE COURT HEREBY MAKES THE FOLLOWING FINDINGS OF FACTS AND
 CONCLUSIONS OF LAW:

        A.     On March 26, 2024 (the “Petition Date”), the Debtor filed its voluntary petition
 under Chapter 11 of the United States Bankruptcy Code, 11 U.S.C. § 101 et seq. (the “Code”).
 The Debtor continues to manage its assets as a debtor in possession pursuant to Code §§ 1107
 and 1108.

         B.     The Court has jurisdiction over this proceeding and the parties and property
 affected hereby pursuant to 28 U.S.C. §§ 157(b) and 1334. The Motion is a core proceeding as
 defined in 28 U.S.C. § 157(b). Venue of the Chapter 11 Case and the Motion in this district is
 proper under 28 U.S.C. §§ 1408 and 1409.

        C.      Under the circumstances, the Notice given by the Debtor of the Motion and the
 interim hearing constitutes due and sufficient notice thereof and complies with Bankruptcy Rule
 4001(c).

      D.      Debtor’s primary creditor with respect to cash collateral is the Small Business
 Administration (the “SBA” or the “Lender”).

        E.      The Lender likely asserts an interest in, inter alia, the accounts, equipment, and
 inventory of the Debtor.

         F.     Sufficient cause exists for immediate entry of this order pursuant to Bankruptcy
 Rules 4001(c)(2). The Debtor requires immediate access to and use of the Cash Collateral in
 order to continue normal business operations.

         G.      No party appearing in this Chapter 11 Case has filed or made an objection to the
 relief sought in the Motion and the entry of this order on an interim basis, or any objections that
 were made are hereby overruled, or have been resolved by agreement.

             Based upon the foregoing, and after due consideration and good cause appearing therefor;

             IT IS HEREBY ORDERED, ADJUDGED AND DECREED, that:

        1.               The Motion is granted on an interim basis pursuant to Bankruptcy Rule
 4001(c)(2).

        2.      The cash and revenue generated by the Debtor post-petition are available for use
 by the Debtor as provided in this Order.

        3.      Pending a final hearing as set forth below, the Debtor is authorized to use Cash
 Collateral under the terms of the budget, attached hereto as Exhibit H003 (the “Budget”). The
 expenses of the Debtor shall not exceed 25% per line item category, absent the written consent of
 the Lender, which consent shall not be unreasonably withheld.

 INTERIM ORDER GRANTING EMERGENCY MOTION TO USE
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        4.      This interim authorization will expire on the earlier of (i) the conclusion of a final
 hearing on the Motion, (ii) further order of this Court, or (iii) on [date].

        5.      This order does not authorize the Debtor to pay any prepetition obligations
 without further order of this Court.

        6.      During the period governed by this interim order, the Debtor must maintain an
 accounting of all funds and the Debtor shall segregate, remit, and deposit all of the Cash
 Collateral consistent with the Debtor’s past and ordinary practices.

        7.      Nothing contained in this Order limits the expenditure of any cash in the
 possession of the Debtor that is not Cash Collateral.

         8.       As adequate protection for any diminution in the value of the Lender’s interest in
 the Lender’s collateral caused by the Debtor’s use of Cash Collateral, the Lender is hereby
 granted valid, perfected, and enforceable replacement security interests in and liens upon the
 collateral referenced and described in the prepetition UCC-1 financing statement filed by the
 Lender with the Texas Secretary of State, only to the same extent and according to the same
 priority as the Lender's pre-petition lien position, and only to the extent of (x) the use of any
 Cash Collateral in which the Lender has an interest in excess of the Budget and (y) any actual
 diminution in the value of the Debtor's interest(s) in the Debtor's property resulting from the use
 of Cash Collateral (the “Post-petition Collateral”). The security interests and liens granted to the
 Lender shall at all times be senior to the rights of the Debtor and any successor trustees in these
 or any subsequent proceedings under the Code to the extent that the Lender’s prepetition security
 interests and liens are senior to the rights of the Debtor. The security interests and liens herein
 granted (i) are and shall be in addition to all security interests, liens, mortgages, and rights to set
 off existing in favor of the Lender, on the Petition Date; (ii) in the same priority as the
 prepetition liens in favor of the Lender to the extent that prepetition liens and security interests
 are valid, perfected, enforceable, and non-avoidable; (iii) are and shall be valid, perfected,
 enforceable, and effective as of the Petition Date without any further action by the Debtor or the
 Lender and without the execution, filing, or recordation of any financing statements, security
 agreements, or other documents, and (iv) shall secure payment of principal as well as any
 interest, costs, or other charges to which the Lender may be entitled post-petition, but only to the
 extent that these items represent a diminution in value of the Lender’s interest in its collateral.

         9.      To the extent of any inadequacy of the Post-petition Collateral with respect to the
 maintenance of position of the Lender, then, as further adequate protection, the Lender shall also
 be entitled to assert an administrative expense claim under Code §§ 361(3) and 503(b)(1).

         10.      This interim order shall be sufficient and conclusive evidence of the priority,
 perfection, and validity of the liens granted herein, effective as of the date and time of entry of
 this order, without any further act and without regard to any other federal, state, or local
 requirements or law requiring notice, filing, registration, recording, or possession of the
 collateral or other act to validate or perfect such security interest or lien. If the Lender hereafter
 requests that the Debtor execute and deliver to the Lender financing statements, instruments, or
 documents considered by the Lender to be necessary or desirable to further evidence the
 perfection of the replacement liens and security interests granted in this order, the Debtor is


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 authorized and directed to execute and deliver those financing statements, instruments, or
 documents. Nothing in this Order shall in any way restrict the scope of the Lender’s pre-petition
 liens, security interests, rights of set-off, or claims with respect to its collateral, and all liens,
 security interests, and mortgages on the Lender's collateral shall extend to the fullest extent
 permitted by Code § 552(b).

       11.    The replacement liens granted to the Lender herein exclude and shall not
 encumber any Code Chapter 5 avoidance claims of the Debtor and/or of the estate.

         12.    The liens on the Lender’s Post-petition Collateral are subordinated to fees payable
 to the United States Trustee pursuant to 28 U.S.C. § 1930(a)(6).

         13.     The terms of this Order shall in no way prejudice any (i) subsequent trustee, (ii)
 statutory committee or (iii) any party in interest that would otherwise have standing, to contest
 the pre-petition interests of the Lender in the Debtor’s property and the amounts of the Debtor’s
 indebtedness to the Lender.

         14.    The final hearing on the Motion pursuant to Bankruptcy Rule 4001(c)(2) is
 scheduled for ________________________, 2023 prevailing Central time (the “Hearing Date”)
 before this Court. The Debtor shall promptly mail copies of this order to the Noticed Parties.
 Any party in interest objecting to the relief sought at the final hearing shall serve and file written
 objections, which objections shall be served upon (a) counsel for Debtor – Jeff Carruth, Weycer,
 Kaplan, Pulaski & Zuber, P.C., and (b) counsel to the Lenders as shown below,

                     SBA address                                          Counsel for SBA (contact
                                                                          information    to     be
                                                                          supplied)

 and (c) the Office of the U.S. Trustee for the Northern District of Texas, and (d) the SubChapter
 V Trustee, and shall be filed with the Clerk of the United States Bankruptcy Court for the
 Northern District of Texas, in each case to allow actual receipt of the foregoing no later than
 _________, 2023, at 5:00 p.m., prevailing Central time on the business day immediately prior to
 the Hearing Date.

                                                        ####END OF ORDER####

 Submitted by:

 Jeff Carruth (TX SBN: 24001846)
 WEYCER, KAPLAN, PULASKI & ZUBER, P.C.
 2608 Hibernia, Suite 105
 Dallas, TX 75204-2514
 Telephone: (713) 341-1158
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 PROPOSED ATTORNEYS FOR
 HIGH PLAINS RADIO NETWORK, LLC,
 DEBTOR AND DEBTOR IN POSSESSION




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                                                                  EXHIBIT _____


 [add budget to order]




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               A                              B                                            C                                                 D                                        E
 1                                                                                                 EXHIBIT H001
 2                                                              Preliminary collateral / cash collateral analysis - NO ADMISSION OF LIABILITY

                                                                                                                                                                        Potential Interest in Accounts
           File Date                    UCC File ##                                Secured Party                              Short Description of Collateral
                                                                                                                                                                             or Cash Collateral
 3
            11/20/2019 19-0043956542                              Midland States Bank                                  Particular equipment (lease/finance)                          No
 4                     21-00201202
 5          11/25/2019 19-0044608678                              US Bank Equipment Finance                            Particular equipment (lease/finance)                           No
 6           12/3/2019 19-0045700985                              Bryn Mawr Equipment Finance Inc.                     Particular equipment (lease/finance)                           No
 7            6/1/2020 20-0021729184                              First State Bank Athens                              Assignment of a note receivables.                              No
 8           7/16/2020 20-0036016290                              SBA                                                  Blanket lien - full description                           Yes (note 1)
 9           8/25/2020 20-0044757968                              CT Corp. Sys. (as rep)                               Particular equipment (lease/finance)                           No
 10          8/31/2020 20-0045702555                              Hitachi Capital America Corp.                        Particular equipment (lease/finance)                           No
 11         11/10/2021 21-0050185870                              US Bank Equipment Finance                            Particular equipment (lease/finance)                           No
 12         11/24/2021 21-0052429500                              CT Corp. Sys. (as rep)                               Particular equipment (lease/finance)                           No
 13         11/29/2021 21-0053543376                              CT Corp. Sys. (as rep)                               Particular equipment (lease/finance)                           No
 14          12/1/2021 21-0053337519                              Corp. Serv. Co. (as rep)                             Particular equipment (lease/finance)                           No
 15         12/28/2021 21-0058331679                              Blue Ridge Financial                                 Particular equipment (lease/finance)                           No
 16          2/24/2022 22-0009168432                              Meridian Equipment Finance LLC                       Particular equipment (lease/finance)                           No
 17          2/27/2022 22-0010082055                              Corp. Serv. Co. (as rep)                             Particular equipment (lease/finance)                           No
 18           3/9/2022 22-0011706382                              Ailco Equipment Fin. Group Inc.                      Particular equipment (lease/finance)                           No
 19          3/16/2022 22-0013152440                              Corp. Serv. Co. (as rep)                             Particular equipment (lease/finance)                           No
 20          3/22/2022 22-0014189754                              Marlin Leasing Corp.                                 Particular equipment (lease/finance)                           No
 21           9/8/2022 22-0044368019                              Corp. Serv. Co. (as rep)                             Particular equipment (lease/finance)                           No
             5/10/2023 23-0020445070                              Channel Partners Capital                             "All assets of the Debtor."                       Yes, but terminated (note 2)
 22                    24-00215084
 23          1/24/2024 24-0003254767                              Zula Com LLC                                         All assets - complete description.                   Yes (insider / related)
 24
      Note 1: Balance is only approximately $65,000.
 25
      Note 2: The UCC-1 list from the Texas SOS includes the Channel Partners UCC-1 but does not list the termination; hence the listing here even tough this UCC-1 is
      terminated and other terminated and/or lapsed UCC-1s were omitted from this list.
 26
 27 C:\Users\jcarruth\ND Office Echo\VAULT-C9SL7ZTY\[exh h001 - ucc1 recap 4869-5120-5299 v.1.xlsx]ucc1recap01




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TEXAS SECRETARY of STATE
JANE NELSON                                                                  EXHIBIT H002

                                                     Debtor Name Search
 This debtor name search was performed on 03/05/2024 02:49 PM with the following search parameters:
 DEBTOR NAME: HIGH PLAINS RADIO NETWORK
 CITY: [Not Specified]


 Order View Filing Number Filing Type         Filing Date         Pages Lapse Date
            18-0038630584 Financing Statement 11/01/2018 10:42 AM 1     11/01/2023
                 19-00112445      Termination              03/29/2019 08:32 AM 1           n/a

 Debtor            HIGH PLAINS RADIO NETWORK, L.L.C.               3218 QUINCY ST
                                                                   PLAINVIEW, TX, 79072
 Secured Party     FINANCIAL AGENT SERVICES                        P.O. BOX 2576
                                                                   SPRINGFIELD, IL, 62708


 Order View Filing Number Filing Type         Filing Date         Pages Lapse Date
            19-0003855728 Financing Statement 02/01/2019 09:30 AM 1     02/05/2024

 Debtor             HIGH PLAINS RADIO NETWORK LLC                  3218 QUINCEY
                                                                   PLAINVIEW, TX, 79072
 Debtor             MONTE LEE SPEARMAN                             3218 QUINCEY
                                                                   PLAINVIEW, TX, 79072
 Secured Party      FIRST STATE BANK                               P O BOX 471
                                                                   ATHENS, TX, 75751


 Order View Filing Number Filing Type         Filing Date         Pages Lapse Date
            19-0007245725 Financing Statement 02/28/2019 02:27 PM 1     02/29/2024

 Debtor             HIGH PLAINS RADIO NETWORK LLC                  3218 QUINCEY
                                                                   PLAINVIEW, TX, 79072
 Debtor             MONTE LEE SPEARMAN                             3218 QUINCEY
                                                                   PLAINVIEW, TX, 79072
 Secured Party      FIRTS STATE BANK, ATHENS                       P O BOX 471
                                                                   ATHENS, TX, 75751


 Order View Filing Number Filing Type         Filing Date         Pages Lapse Date
            19-0032986715 Financing Statement 08/29/2019 09:19 AM 1     08/29/2024
                 20-00107566      Termination              03/19/2020 10:46 AM 1           n/a

 Debtor            HIGH PLAINS RADIO NETWORK LLC                  3218 QUINCY ST
                                                                  PLAINVIEW, TX, 79072
 Secured Party     FINANCIAL AGENT SERVICES                       P.O. BOX 2576
                                                                  SPRINGFIELD, IL, 62708


 Order View Filing Number Filing Type         Filing Date         Pages Lapse Date
            19-0043956542 Financing Statement 11/20/2019 03:47 PM 1     11/20/2024
                 21-00201202      Assignment               05/14/2021 05:00 PM 1          n/a

 Debtor        HIGH PLAINS RADIO NETWORK, L.L.C.             3218 QUINCY STREET
                                                             PLAINVIEW, TX, 79073-1906
 Secured       C T CORPORATION SYSTEM, AS                    330 N BRAND BLVD, SUITE 700;
 Party         REPRESENTATIVE                                ATTN: SPRS
                                                            EXHIBIT H002 - PAGE 1
https://direct.sos.state.tx.us/ucc_order/ucc_order-dns.asp?spage=dns-i                                            1/3
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                                               Document GLENDALE,
                                                            Page 17CA,of 91203
                                                                         24
 Secured       MIDLAND STATES BANK                           1801 PARK 270 DRIVE, SUITE
 Party                                                       200
                                                             ST. LOUIS, MO, 63146


 Order View Filing Number Filing Type         Filing Date         Pages Lapse Date
            19-0044608678 Financing Statement 11/25/2019 07:02 PM 1     11/25/2024

 Debtor           HIGH PLAINS RADIO NETWORK, L.L.C.             3218 QUINCY ST
                                                                PLAINVIEW, TX, 79072-1906
 Secured Party U.S. BANK EQUIPMENT FINANCE                      1310 MADRID STREET
                                                                MARSHALL, MN, 56258


 Order View Filing Number Filing Type         Filing Date         Pages Lapse Date
            19-0045700985 Financing Statement 12/03/2019 05:00 PM 3     12/03/2024

 Debtor           HIGH PLAINS RADIO NETWORK, L.L.C.                3218 QUINCY STREET
                                                                   PLAINVIEW, TX, 79072
 Secured Party    BRYN MAWR EQUIPMENT FINANCE, INC.                801 LANCASTER AVENUE
                                                                   BRYN MAWR, PA, 19010


 Order View Filing Number Filing Type         Filing Date         Pages Lapse Date
            20-0010752522 Financing Statement 03/19/2020 10:26 AM 1     03/19/2025
                 21-00531746      Termination              12/01/2021 10:33 AM 1        n/a

 Debtor            HIGH PLAINS RADIO NETWORK, L.L.C.               3218 QUINCY ST
                                                                   PLAINVIEW, TX, 79072
 Secured Party     FINANCIAL AGENT SERVICES                        P.O. BOX 2576
                                                                   SPRINGFIELD, IL, 62708


 Order View Filing Number Filing Type         Filing Date         Pages Lapse Date
            20-0021729184 Financing Statement 06/01/2020 01:52 PM 1     06/02/2025

 Debtor            HIGH PLAINS RADIO NETWORK LLC               PO BOX 1478
                                                               PLAINVIEW, TX, 79073-1478
 Secured Party     FIRST STATE BANK                            PO BOX 471
                                                               ATHENS, TX, 75751


 Order View Filing Number Filing Type         Filing Date         Pages Lapse Date
            20-0036016290 Financing Statement 07/16/2020 07:29 PM 1     07/16/2025

 Debtor          HIGH PLAINS RADIO NETWORK, LLC               3218 QUINCY STREET
                                                              PLAINVIEW, TX, 79072
 Secured         U.S. SMALL BUSINESS                          1545 HAWKINS BLVD, SUITE
 Party           ADMINISTRATION                               202
                                                              EL PASO, TX, 79925


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TEXAS SECRETARY of STATE
JANE NELSON
                                                     Debtor Name Search
 This debtor name search was performed on 03/05/2024 02:49 PM with the following search parameters:
 DEBTOR NAME: HIGH PLAINS RADIO NETWORK
 CITY: [Not Specified]


 Order View Filing Number Filing Type         Filing Date         Pages Lapse Date
            20-0044757968 Financing Statement 08/25/2020 08:36 AM 1     08/25/2025

 Debtor        HIGH PLAINS RADIO NETWORK, L.L.C.             PO BOX 1478
                                                             PLAINVIEW, TX, 79073
 Secured       C T CORPORATION SYSTEM, AS                    330 N BRAND BLVD, SUITE 700,
 Party         REPRESENTATIVE                                ATTN: SPRS
                                                             GLENDALE, CA, 91203


 Order View Filing Number Filing Type         Filing Date         Pages Lapse Date
            20-0045702555 Financing Statement 08/31/2020 11:42 AM 1     09/02/2025

 Debtor          HIGH PLAINS RADIO NETWORK,               2651 CO RD 191
                 L.L.C.                                   LITTLEFIELD, TX, 79339
 Secured         HITACHI CAPITAL AMERICA CORP.            7808 CREEKRIDGE CIRCLE, STE
 Party                                                    250
                                                          EDINA, MN, 55439


 Order View Filing Number Filing Type         Filing Date         Pages Lapse Date
            21-0050185870 Financing Statement 11/10/2021 07:02 PM 1     11/11/2026

 Debtor           HIGH PLAINS RADIO NETWORK, L.L.C.             3218 QUINCY ST
                                                                PLAINVIEW, TX, 79072-1906
 Secured Party U.S. BANK EQUIPMENT FINANCE                      1310 MADRID STREET
                                                                MARSHALL, MN, 56258


 Order View Filing Number Filing Type         Filing Date         Pages Lapse Date
            21-0052429500 Financing Statement 11/24/2021 02:57 PM 1     11/24/2026

 Debtor        HIGH PLAINS RADIO NETWORK, L.L.C.             2300 COUNTRY RD 40
                                                             PLAINVIEW, TX, 79072
 Secured       C T CORPORATION SYSTEM, AS                    330 N BRAND BLVD, SUITE 700,
 Party         REPRESENTATIVE                                ATTN: SPRS
                                                             GLENDALE, CA, 91203


 Order View Filing Number Filing Type         Filing Date         Pages Lapse Date
            21-0053543376 Financing Statement 11/29/2021 05:00 PM 2     11/29/2026

 Debtor        HIGH PLAINS RADIO NETWORK, L.L.C.             725 FM 2013
                                                             FRIONA, TX, 79035
 Secured       C T CORPORATION SYSTEM, AS                    330 N BRAND BLVD, SUITE 700;
 Party         REPRESENTATIVE                                ATTN: SPRS
                                                             GLENDALE, CA, 91203


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            21-0053337519 Financing Statement 12/01/2021 03:15 PM 1     12/01/2026

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                                                   Page
                                             PO BOX 1478
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              L.L.C.                                        PLAINVIEW, TX, 79073-1478
 Secured      CORPORATION SERVICE COMPANY,                  PO BOX 2576
 Party        AS REPRESENTATIVE                             UCCSPREP@CSCINFO.COM
                                                            SPRINGFIELD, IL, 62708


 Order View Filing Number Filing Type         Filing Date         Pages Lapse Date
            21-0058331679 Financing Statement 12/28/2021 05:00 PM 2     12/28/2026

 Debtor           HIGH PLAINS RADIO NETWORK,                    2300 COUNTRY ROAD 40
                  L.L.C.                                        PLAINVIEW, TX, 79072
 Secured          BLUE BRIDGE FINANCIAL, LLC                    11921 FREEDOM DR. SUITE
 Party                                                          1130
                                                                RESTON, VA, 20190


 Order View Filing Number Filing Type         Filing Date         Pages Lapse Date
            22-0009168432 Financing Statement 02/24/2022 06:39 AM 1     02/24/2027

 Debtor            HIGH PLAINS RADIO NETWORK, L.L.C.                 PO BOX 1478
                                                                     PLAINVIEW, TX, 79073
 Secured Party     MERIDIAN EQUIPMENT FINANCE LLC                    9 OLD LINCOLN HIGHWAY
                                                                     MALVERN, PA, 19355


 Order View Filing Number Filing Type         Filing Date         Pages Lapse Date
            22-0010082055 Financing Statement 02/27/2022 09:39 PM 2     03/01/2027

 Debtor       HIGH PLAINS RADIO NETWORK,                    PO BOX 1478
              L.L.C.                                        PLAINVIEW, TX, 79073
 Secured      CORPORATION SERVICE COMPANY,                  PO BOX 2576
 Party        AS REPRESENTATIVE                             UCCSPREP@CSCINFO.COM
                                                            SPRINGFIELD, IL, 62708


 Order View Filing Number Filing Type         Filing Date         Pages Lapse Date
            22-0011706382 Financing Statement 03/09/2022 08:30 AM 1     03/09/2027

 Debtor           HIGH PLAINS RADIO NETWORK, L.L.C.                  808 MAIN STREET
                                                                     ALTUS, OK, 73522
 Secured          AILCO EQUIPMENT FINANCE GROUP,                     W222N833 CHEANEY
 Party            INC.                                               ROAD
                                                                     WAUKESHA, WI, 53186


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                                            Document     Page 22 of 24
TEXAS SECRETARY of STATE
JANE NELSON
                                                     Debtor Name Search
 This debtor name search was performed on 03/05/2024 02:49 PM with the following search parameters:
 DEBTOR NAME: HIGH PLAINS RADIO NETWORK
 CITY: [Not Specified]


 Order View Filing Number Filing Type         Filing Date         Pages Lapse Date
            22-0013152440 Financing Statement 03/16/2022 09:59 AM 1     03/16/2027

 Debtor       HIGH PLAINS RADIO NETWORK,                 PO BOX 1478
              L.L.C.                                     PLAINVIEW, TX, 79073
 Secured      CORPORATION SERVICE COMPANY,               PO BOX 2576
 Party        AS REPRESENTATIVE                          UCCSPREP@CSCINFO.COM
                                                         SPRINGFIELD, IL, 62708


 Order View Filing Number Filing Type         Filing Date         Pages Lapse Date
            22-0014189754 Financing Statement 03/22/2022 05:00 PM 2     03/22/2027

 Debtor           HIGH PLAINS RADIO NETWORK, L.L.C.             207 WEST GRAND AVENUE
                                                                FREDERICK, OK, 73542
 Secured Party    MARLIN LEASING CORP                           300 FELLOWSHIP RD
                                                                MOUNT LAUREL, NJ, 08054


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            22-0044368019 Financing Statement 09/08/2022 10:47 AM 1     09/08/2027

 Debtor       HIGH PLAINS RADIO NETWORK,                 PO BOX 1478
              L.L.C.                                     PLAINVIEW, TX, 79073
 Secured      CORPORATION SERVICE COMPANY,               PO BOX 2576
 Party        AS REPRESENTATIVE                          UCCSPREP@CSCINFO.COM
                                                         SPRINGFIELD, IL, 62708


 Order View Filing Number Filing Type         Filing Date         Pages Lapse Date
            23-0020445070 Financing Statement 05/10/2023 08:30 AM 1     05/10/2028

 Debtor            HIGH PLAINS RADIO NETWORK, L.L.C.             3218 QUINCY ST
                                                                 PLAINVIEW, TX, 79072
 Secured Party     CHANNEL PARTNERS CAPITAL                      11100 WAYZATA BLVD
                                                                 MINNETONKA, MN, 55305


 Order View Filing Number Filing Type         Filing Date         Pages Lapse Date
            24-0003254767 Financing Statement 01/24/2024 02:57 PM 2     01/23/2029

 Debtor       HIGH PLAINS RADIO NETWORK,                 3218 QUINCY
              L.L.C.                                     PLAINVIEW, TX, 79072
 Debtor       ZULA COM, LLC                              205 SOUTH 25 MILE AVENUE
                                                         HEREFORD, TX, 79045
 Debtor       SPEARMAN LAND AND                          PO BOX 1478
              DEVELOPMENT LLC                            PLAINVIEW, TX, 79073
 Secured      CORPORATION SERVICE COMPANY,               P.O. BOX 2576
 Party        AS REPRESENTATIVE                          UCCSPREP@CSCINFO.COM
                                                         SPRINGFIELD, IL, 62708


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            24-0012016773 Financing Statement 02/14/2024 05:08 PM 5                              02/13/2029

 Debtor        HIGH PLAINS RADIO NETWORK, LLC    3218 QUINCY ST PO BOX 1478
                                                 PLAINVIEW, TX, 79073
 Debtor        PROFIT PROGRAMMING OF NORTHERN PO BOX 1928
               TEXAS, LLC                        LYONS,, CO, 80540
 Debtor        PROFIT PROGRAMMING, LLC           P.O. BOX 2690
                                                 ESTES PARK, CO, 80517
 Debtor        HIGH PLAINS RADIO NETWORK, L.L.C. PO BOX 1478
                                                 PLAINVIEW, TX, 79073
 Debtor        SPEARMAN LAND AND DEVELOPMENT PO BOX 1478
               LLC                               PLAINVIEW, TX, 79073
 Debtor        MK, INC.                          P.O. BOX 2690
                                                 ESTES PARK, CO, 80517
 Debtor        SPEARMAN PROPERTIES, LLC          P.O. BOX 2690
                                                 ESTES PARK, CO, 80517
 Debtor        SPEARMAN COMPANY                  P.O. BOX 2690
                                                 ESTES PARK, CO, 80517
 Debtor        ZULA COM, LLC                     PO BOX 1655
                                                 HEREFORD, TX, 79045
 Debtor        HIGH PLAINS RADIO NETWORK LLC     223 RUSSELL ST
                                                 MOUNTAIN HOME, AR, 72653
 Debtor        SPEARMAN LIVESTOCK, LLC,          P.O. BOX 2690
                                                 ESTES PARK, CO, 80517
 Debtor        PROFIT PROGRAMMING MRB, LLC       P.O. BOX 2690
                                                 ESTES PARK,, CO, 80517
 Debtor        PROFIT PROGRAMMING OF NORTHERN P.O. BOX 2690
               NEVADA, LLC                       ESTES PARK, CO, 80517
 Debtor        PROFIT PROGRAMMING OF FARGO,      P.O. BOX 2690
               LLC                               ESTES PARK, CO, 80517
 Debtor        HIGH PLAINS RADIO NETWORK LLC     808 N. MAIN
                                                 ST., ALTUS, OK, 73521
 Debtor        HIGH PLAINS RADIO NETWORK LLC     223 RUSSELL ST
                                                 MOUNTAIN HOME, AR, 72653
 Debtor        MONTE LEE SPEARMAN                4837 SILVERWOOD DRIVE
                                                 JOHNSTOWN, CO, 80534
 Secured       C T CORPORATION SYSTEM, AS        330 N BRAND BLVD, SUITE 700;
 Party         REPRESENTATIVE                    ATTN: SPRS
                                                 GLENDALE, CA, 91203


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                                                                                                                                                                                                                                                                                                           EXHIBIT H003

                                                                                                                                                                       EXHIBIT H003
                           Operations Budget                   Altus      Month %                      Operations Budget                              Hereford     Month %                                        Operations Budget                                  Palestine    Month %                        Operations Budget                         Helena      Month %
                         1 Office - 4 FM Stations             SW Okla      Line                 1 Office - 4 FM & 1 AM Stations                      West Texas     Line                                   1 Office - 2 FM & 3 AM Stations                           East Texas    Line                             1 Office - 3 FM                      KJMT - KFFA    Line
                            Type of Expense                    4 FM        Item                         Type of Expense                              4 FM - 1 AM    Item                                            Type of Expense                                 2 FM - 3 AM    Item                           Type of Expense                        WDMS 3 FM      Item
           KYEB - KVWC Tower Lease - Titan Systems                  1,200     3.2%   KKYN & KRIA Tower Lease - Lift Systems                                    700     1.9%                  KYYK Tower Lease - American                                                    1,600     2.9%     KFFA Tower Rent - Titan Tower All Exp                             1,200     3.2%
                                                                        0     0.0%   KGRW Tower Lease - City of Friona                                         500     1.3%                  KWRD Tower Lease - Titan                                                         700     1.3%     Mtn. Home Tower & Office Lease                                      600     1.6%
                                                                        0     0.0%   KNNK Tower Lease - South Plains Com                                       750     2.0%                  KCKL & KLVQ Tower Lease - Titan                                                1,500     2.7%                                                                           0     0.0%
           KYEB - KVWC Tower Electric - TXU                           800     2.1%   KKYN & KRIA Tower Electric - Swisher Elec.                                500     1.3%                  KYYK & KNET Utility - Reliant                                                    300     0.5%                                                                           0     0.0%
                                                                        0     0.0%   KZZN Tower Electric - Xcel                                                300     0.8%                  KCKL & KLVQ Utility - TXU                                                        500     0.9%                                                                           0     0.0%
                                                                        0     0.0%                                                                               0     0.0%                  Office Apartment Expense                                                       1,000     1.8%                                                                           0     0.0%
           Office Int-Phones - Bluepeak                               300     0.8%                                                                               0     0.0%                  Office Int-Phones - Optimum & Etex & BrtSpd                                      900     1.6%     Office Int-Phones - Optimum                                         900     2.4%
           Equipment Insurance - Liberty Mutual                     1,200     3.2%   Equipment Insurance - Liberty Mutual                                    1,500     4.0%                  Equipment Insurance - Liberty Mutual                                           1,500     2.7%     Property & Equipment Ins GNVL - SouthGroup                          900     2.4%
           Internet Feed Service - SecureNet                          100     0.3%   Internet Feed Service - SecureNet                                         100     0.3%                  Internet Feed Service - SecureNet                                                100     0.2%     Internet Feed Service - SecureNet                                   100     0.3%
           Natural Gas - Summit                                       100     0.3%   Natural Gas - Atmos                                                       100     0.3%                  Natural Gas - None                                                                 0     0.0%     Natural Gas - Black Hills Gas                                       100     0.3%
           Office Electric - Altus                                    500     1.3%   Office Electric - Xcel                                                    300     0.8%                  Office Electric - Reliant & SWEPC                                              1,000     1.8%     Office Electric - NAEC - Entergy - Entergy                        1,400     3.8%
           Office Water - Trash - Sewer - Altus                       100     0.3%   Office Water - Trash - Sewer - Hereford                                   120     0.3%                  Office Water - Trash - Sewer - Pal & Hend                                        200     0.4%     Office Water - Trash - Sewer - Helena & GNVL                        160     0.4%
           Office Lease                                             2,500     6.7%   Office Lease                                                            2,500     6.7%                  Office Lease - 2 Offices                                                       5,000     9.0%     Office Lease                                                      2,500     6.7%
           Real Property Tax - Altus                                  300     0.8%   Real Property Tax - Hrfd & Ltfd                                           600     1.6%                  Real Property Tax - Palestine & Henderson                                        700     1.3%     Real Property Tax - Helena                                          300     0.8%
           Personal Property Tax - All Counties                       100     0.3%   Personal Property Tax - All Counties                                      100     0.3%                  Personal Property Tax - All Counties                                             100     0.2%     Personal Property Tax - All Counties                                100     0.3%
           Leases - Utilities - Insurance - Property Tax           7,200     19.3%   Leases - Utilities - Insurance - Property Tax                           8,070    21.6%                  Leases - Utilities - Insurance - Property Tax                                 15,100    27.3%     Leases - Utilities - Insurance - Property Tax                     8,260    22.1%
           Cell Services - $80 Per Station - Verizon                  320     0.9%   Cell Services - $80 Per Station - Verizon                                 400     1.1%                  Cell Services - $80 Per Station - Verizon                                        400     0.7%     Cell Services - $80 Per Station - Verizon                           240     0.6%
           Programming & Automation - Arrakis Adobe                   100     0.3%   Programming & Automation - Arrakis Adobe                                  100     0.3%                  Programming & Automation - Arrakis Adobe                                         100     0.2%     Programming & Automation - Arrakis Adobe                            300     0.8%
           Sales & Sports Travel - $80 Per Station                    320     0.9%   Sales & Sports Travel - $80 Per Station                                   400     1.1%                  Sales & Sports Travel - $80 Per Station                                          400     0.7%     Sales & Sports Travel - $80 Per Station                             240     0.6%
           FCC Annual Fees - FM $2400                                 800     2.1%   FCC Annual Fees - FM $2400 - AM $600                                      850     2.3%                  FCC Annual Fees - FM $2400 - AM $600                                             550     1.0%     FCC Annual Fees - FM $2400                                          600     1.6%
           Royalties - ASCAP @ $160 Ea.                               640     1.7%   Royalties - ASCAP @ $160 Ea.                                              800     2.1%                  Royalties - ASCAP @ $160 Ea.                                                     800     1.4%     Royalties - ASCAP @ $160 Ea.                                        480     1.3%
                       BMI @ $160 Ea.                                 640     1.7%               BMI @ $160 Ea.                                                800     2.1%                              BMI @ $160 Ea.                                                       800     1.4%                 BMI @ $160 Ea.                                          480     1.3%
                       GMR @ $25 Ea.                                  100     0.3%               GMR @ $25 Ea.                                                 125     0.3%                              GMR @ $25 Ea.                                                        125     0.2%                 GMR @ $25 Ea.                                            75     0.2%
                       SESAC @ $25 Ea.                                100     0.3%               SESAC @ $25 Ea.                                               125     0.3%                              SESAC @ $25 Ea.                                                      125     0.2%                 SESAC @ $25 Ea.                                          75     0.2%
                       Sound Exchange @ $100 Each Feed                200     0.5%               Sound Exchange @ $100 Each Feed                               200     0.5%                              Sound Exchange @ $100 Each Feed                                      200     0.4%                 Sound Exchange @ $100 Each Feed                         300     0.8%
           Programming - Travel - Broadcast - Royalties            3,220      8.6%   Programming - Travel - Broadcast - Royalties                            3,800    10.2%                  Programming - Travel - Broadcast - Royalties                                   3,500     6.3%     Programming - Travel - Broadcast - Royalties                      2,790     7.5%
           Sports Mgr - Kathy                                         800     2.1%   Sports Mgr - Johnny                                                     1,000     2.7%                  Sports Mgr - Paul                                                              1,200     2.2%     MS Prod Talent - Scott - Mtn Hm                                   1,500     4.0%
           Production Affidavits & FCC Quarterly - Jacob              300     0.8%   MS Prod Talent - Chris - Plainview                                      1,000     2.7%                  MS Prod Talent - Stephanie - Athens                                            2,500     4.5%     MS Prod Talent - Leon - Helena                                    1,500     4.0%
           MS Prod Talent - Cal - Altus                             2,000     5.4%   MS Prod Talent - Jeri - Hereford                                        1,000     2.7%                  MS Prod Talent - Mark - Henderson                                              1,250     2.3%     MS Prod Talent - Johnny - Greenville                              1,000     2.7%
                                                                        0     0.0%                                                                               0     0.0%                  MS Prod Talent - Kat - Palestine                                               2,500     4.5%                                                                           0     0.0%
           Sports Ancers @ $100 Per Mth Per Station                   400     1.1%   Sports Ancers @ $200 Per Mth Per Station                                1,000     2.7%                  Sports Ancers @ $200 Per Mth Per Station                                       1,000     1.8%     Sports Ancers @ $200 Per Mth Per Station                            600     1.6%
           Office & Traffic Mgr - Tracie                            1,750     4.7%   Office & Traffic Mgr - Tracie                                           1,750     4.7%                  Office & Traffic Mgr - Tasha                                                   1,750     3.2%     Office & Traffic Mgr - Tasha                                      1,750     4.7%
           Sales Mgr Local - Trudy                                  1,500     4.0%   Sales Mgr Local - Jeri                                                  1,000     2.7%                  Sales Mgr Local - Stephanie - Athens                                           3,000     5.4%     Sales Mgr Local - Johnny - Greenville                             2,000     5.4%
           Sales Rep #1 Altus - Niki                                  500     1.3%   Sales Rep #1 Hereford -                                                   500     1.3%                  Sales Mgr Local - Kenny - Henderson                                            2,000     3.6%     Sales Mgr Local - Deward - Helena                                 1,000     2.7%
           Sales Rep #2 Frederick - Jennifer                          500     1.3%   Sales Rep #2 Friona -                                                     500     1.3%                  Sales Mgr Local - Thor - Palestine                                             1,000     1.8%     Sales Mgr Local -        - Mtn. Hm.                               1,000     2.7%
           Sales Rep #3 Vernon -                                      500     1.3%   Sales Rep #3 Littlefield -                                                500     1.3%                  Sales Rep #1 -           - Athens                                                500     0.9%                                                                           0     0.0%
                                                                        0     0.0%                                                                               0     0.0%                  Sales Rep #2 - Erminia - Henderson                                               500     0.9%                                                                           0     0.0%
                                                                        0     0.0%                                                                               0     0.0%                  Sales Rep #3 -           - Palestine                                             500     0.9%                                                                           0     0.0%
           Engineering - Mike                                         750     2.0%   Engineering - Mike                                                        750     2.0%                  Engineering - Mike                                                               750     1.4%     Engineering - Mike                                                  750     2.0%
           Agency Sales Mgr. - Tiffany                              1,000     2.7%   Agency Sales Mgr. - Tiffany                                             1,000     2.7%                  Agency Sales Mgr. - Tiffany                                                    1,000     1.8%     Agency Sales Mgr. - Tiffany                                       1,000     2.7%
           Property Maint. - Gentry                                 1,000     2.7%   Property Maint. - Gentry                                                1,000     2.7%                  Property Maint. - Gentry                                                       1,000     1.8%     Property Maint. - Gentry                                          1,000     2.7%
           Promotions Mgr. - Kristi                                   500     1.3%   Promotions Mgr. - Kristi                                                  500     1.3%                  Promotions Mgr. - Kristi                                                         500     0.9%     Promotions Mgr. - Kristi                                            500     1.3%
           Gen. Sales Mgr. - Monte                                  1,000     2.7%   Gen. Sales Mgr. - Monte                                                 1,000     2.7%                  Gen. Sales Mgr. - Monte                                                        1,000     1.8%     Gen. Sales Mgr. - Monte                                           1,000     2.7%
           Employee Tax Match 10%                                   1,250     3.3%   Employee Tax Match 10%                                                  1,250     3.3%                  Employee Tax Match 10%                                                         2,195     4.0%     Employee Tax Match 10%                                            1,460     3.9%
           Payroll                                                13,750     36.8%   Payroll                                                                13,750    36.8%                  Payroll                                                                       24,145    43.6%     Payroll                                                         16,060     43.0%
           Corporate Expenses                                      1,250      3.3%   Corporate Expenses                                                      1,250     3.3%                  Corporate Expenses                                                             1,250     2.3%     Corporate Expenses                                                1,250     3.3%
           Fees - Misc. - Other - ROUND OFF                         5,680    15.2%   Fees - Misc. - Other - ROUND OFF                                        4,230    11.3%                  Fees - Misc. - Other - ROUND OFF                                               2,105     3.8%     Fees - Misc. - Other - ROUND OFF                                  2,740     7.3%
                                 Monthly Total                    31,100    100.0%                         Monthly Total                                    31,100   100.0%                                          Monthly Total                                         46,100   100.0%                           Monthly Total                             31,100    100.0%

              Commissions Added at 20% of the Monthly Total        6,220    16.7%       Commissions Added at 20% of the Monthly Total                          6,220          16.7%              Commissions Added at 20% of the Monthly Total                               9,220   16.7%        Commissions Added at 20% of the Monthly Total                   6,220       16.7%

                          Combined Monthly Total                  37,320                            Combined Monthly Total                                    37,320                                           Combined Monthly Total                                       55,320                            Combined Monthly Total                             37,320

                           Combined Annual Total                 447,840                             Combined Annual Total                                  447,840                                             Combined Annual Total                                      663,840                             Combined Annual Total                            447,840



                All Stations - Combined Monthly Total OPEX       167,280                                         C:\Users\jcarruth\ND Office Echo\VAULT-C9SL7ZTY\[HPRN OPEX Updated MLS 032624 Sent to JC 040124 4876-1947-6659 v.1.xlsx]Mthly Operating Expenses 032624



                      All Stations - Annual Total OPEX         2,007,360




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